          Case 2:17-cv-02386-ODW-PLA Document 33 Filed 09/25/17 Page 1 of 35 Page ID #:180


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                15                           UNITED STATES DISTRICT COURT
                16                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
                17
                18       KEVIN A. SHAW,                      )      Case No. 2:17-cv-02386-ODW-PLA
                                                             )
                19
                                        Plaintiff,           )      Honorable Otis D. Wright, II
                20                                           )
                                   Vs.                       )
                21
                                                             )      PLAINTIFF’S BRIEF IN
                22       KATHLEEN F. BURKE, in her           )      OPPOSITION TO DEFENDANTS’
                         individual and official capacities; )      MOTION TO DISMISS
                23
                         EARIC DIXON-PETERS, in his          )
                24       individual and official capacities; )
                         WILLIAM A. MARMOLEJO, in his )             Date: October 16, 2017
                25
                         individual and official capacities; )      Time: 1:30 p.m.
                26       JUAN C. ASTORGA, in his individual )       Dept.: Courtroom 5D
                         and official capacities;            )
                27
                         FRANCISCO C. RODRIGUEZ, in his )
                28
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                                                                               Case No. 2:17-cv-02386-ODW-PLA
           Case 2:17-cv-02386-ODW-PLA Document 33 Filed 09/25/17 Page 2 of 35 Page ID #:181



                     1
                         official capacity;                      )
                         SCOTT J. SVONKIN, in his official       )
                     2   capacity;                               )
                     3
                         SYDNEY K. KAMLAGER, in her              )
                         official capacity;                      )
                     4   MIKE FONG, in his official capacity;    )
                     5   MIKE ENG, in his official capacity;     )
                         ANDRA HOFFMAN, in her official          )
                     6   capacity; ERNEST H. MORENO, in          )
                     7   his official capacity;                  )
                         NANCY PEARLMAN, in her official         )
                     8   capacity; and JOHN DOE, in his          )
                     9   individual and official capacities,     )
                                                                 )
                 10                   Defendants.                )
                 11                                              )

                 12
                 13            Plaintiff Kevin Shaw submits his opposition to Defendants’ Motion to

                 14      Dismiss as follows:

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    LOS ANGELES
          Case 2:17-cv-02386-ODW-PLA Document 33 Filed 09/25/17 Page 3 of 35 Page ID #:182


                     1                                        TABLE OF CONTENTS
                     2                                                                                                                 Page
                     3   I.    STATEMENT OF FACTS...............................................................................1
                     4
                         II.   ARGUMENT ...................................................................................................3
                     5
                               A.       Defendants’ 12(b)(1) Motion Should Be Denied Because
                     6                  Shaw Has Standing To Bring His Claims..............................................3
                     7
                                        1. Because he was subjected to the very policies he challenges,
                     8                     Shaw has suffered a concrete and particularized injury-in-fact.....4
                     9
                                        2. There is a credible risk of future enforcement of the policies. ......4
                10
                11                      3. Shaw’s allegations satisfy the remaining standing elements.........8
                12             B.       Eleventh Amendment Immunity Does Not Bar Shaw’s Individual
                                        Capacity Claims. ....................................................................................9
                13
                               C.       Defendants’ 12(b)(6) Motion Should Be Denied Because Shaw
                14                      Pleads Claims Upon Which Relief Can Be Granted. ............................9
                15
                                        1. Outdoor areas of the LACCD campuses, including Pierce
                16                         College, are traditional or designated public forums for
                                           student speech. .............................................................................10
                17
                18                               a.       The California Education Code affirmatively designates
                                                          community college campuses as open to student
                19                                        expression………………………………………………10
                20                               b.       Even absent designation, open, outdoor areas of campus
                                                          are traditional or designated public forums ...…………11
                21
                                        2. Defendants’ Policies are not consistent with rules governing
                22                         traditional or designated public forums. ......................................15
                23
                                                 a.       The policies are not narrowly tailored to serve a
                24                                        significant interest…………………………..…………15
                25                               b.       The policies do not leave open ample alternative
                                                          channels of communication..……………….…………17
                26
                27                      3. Even if Pierce’s campus is a nonpublic or limited public
                                           forum, Shaw has pled claims on which relief may be granted ...18
                28
LEADER & BERKON LLP                                                             i
  ATTORNEYS AT LAW
    LOS ANGELES                                                          Plaintiff’s Opposition to Defendants’ Motion to Dismiss
                                                                                       Kevin A. Shaw vs. Kathleen F. Burke, et al.
                                                                                             Case No. 2:17-cv-02386-ODW-PLA
           Case 2:17-cv-02386-ODW-PLA Document 33 Filed 09/25/17 Page 4 of 35 Page ID #:183



                     1
                                        4. Pierce College’s permit requirement is a prior restraint under
                     2                     which College officials have unfettered discretion......................19
                     3          D.      The Pierce College Defendants Have Been Properly Joined...............21
                     4          E.      The Pierce College Defendants Are Not Entitled to Qualified
                                        Immunity. .............................................................................................24
                     5
                     6   III.   CONCLUSION ..............................................................................................25
                     7
                     8
                     9
                 10
                 11
                 12
                 13
                 14
                 15
                 16
                 17
                 18
                 19

                 20
                 21
                 22
                 23
                 24
                 25
                 26
                 27
                 28                                                             - ii -
LEADER & BERKON LLP
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                                          Plaintiff’s Opposition to Defendants’ Motion to Dismiss
    LOS ANGELES
           Case 2:17-cv-02386-ODW-PLA Document 33 Filed 09/25/17 Page 5 of 35 Page ID #:184



                     1                                        TABLE OF AUTHORITIES
                     2                                                                                                                  Page
                     3                                                         Cases
                     4   ACLU of Nev. v. City of Las Vegas,
                     5     333 F.3d 1092 (9th Cir. 2003)...................................................................11, 13, 19
                     6   Ashcroft v. al-Kidd,
                     7     563 U.S. 731 (2011) ..............................................................................................24
                     8   Ashcroft v. Iqbal,
                     9     556 U.S. 662 (2009) ..............................................................................................21
                 10      Babbitt v. United Farm Workers Nat’l Union,
                 11        442 U.S. 289 (1979) ................................................................................................5
                 12      Bd. of Airport Comm’rs v. Jews for Jesus, Inc.,
                 13        482 U.S. 569 (1987) ..............................................................................................18
                 14      Benitez v. Hutchens,
                 15        2016 U.S. Dist. LEXIS 179445 (C.D. Cal. Sept. 8, 2016)....................................22
                 16      Berger v. City of Seattle,
                 17        569 F.3d 1029 (9th Cir. 2009)...................................................................19, 20, 21
                 18      Blanchette v. Conn. Gen. Ins. Corps.,
                 19        419 U.S. 102 (1974) ................................................................................................4
                 20      Bloedorn v. Grube,
                 21        631 F.3d 1218 (11th Cir. 2011)............................................................................ 20
                 22      Bowman v. White,
                 23        444 F.3d 967 (8th Cir. 2006. ................................................................................ 20
                 24      Burbridge v. Sampson,
                 25        74 F. Supp. 2d 940 (C.D. Cal. 1999).....................................................................12
                 26      Bureerong v. Uvawas,
                 27        922 F. Supp. 1450 (C.D. Cal. 1996)........................................................................3
                 28                                                              - iii -
LEADER & BERKON LLP
  ATTORNEYS AT LAW
                                           Plaintiff’s Opposition to Defendants’ Motion to Dismiss
    LOS ANGELES
           Case 2:17-cv-02386-ODW-PLA Document 33 Filed 09/25/17 Page 6 of 35 Page ID #:185



                     1   Canatella v. California,
                     2     304 F.3d 843 (9th Cir. 2002)...................................................................................6
                     3   Colwell v. Bannister,
                     4     763 F.3d 1060 (9th Cir. 2014)...............................................................................23
                     5   Ctr. for Bio-Ethical Reform, Inc. v. L.A. Cty. Sheriff Dep’t,
                     6     533 F.3d 780 (9th Cir. 2008).................................................................................24
                     7   Desyllas v. Bernstine,
                     8     351 F.3d 934 (9th Cir. 2003).................................................................................15
                     9   Flint v. Dennison,
                 10        488 F.3d 816 (9th Cir. 2007).................................................................................11
                 11      Forsyth v. Nationalist Movement,
                 12        505 US. 123 (1992) ...............................................................................................19
                 13      Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc.,
                 14        528 U.S. 167 (2000) ............................................................................................3, 8
                 15      Galvin v. Hay,
                 16        374 F.3d 739 (9th Cir. 2004).................................................................................18
                 17      Grossman v. City of Portland,
                 18        33 F.3d 1200 (9th Cir. 1994).................................................................................15
                 19      Guengerich v. Barron,
                 20        2011 WL 13116612 (C.D. Cal. May 5, 2011) ......................................................24
                 21      Hafer v. Melo,
                 22        502 U.S. 21 (1991) ..................................................................................................9
                 23      Hartmann v. Cal. Dep’t of Corr. & Rehab.,
                 24        707 F.3d 1114 (9th Cir. 2013)...............................................................................23
                 25      Hays Cty. Guardian v. Supple,
                 26        969 F.2d 111 (5th Cir. 1992).................................................................................12
                 27
                 28                                                              - iv -
LEADER & BERKON LLP
  ATTORNEYS AT LAW
                                            Plaintiff’s Opposition to Defendants’ Motion to Dismiss
    LOS ANGELES
           Case 2:17-cv-02386-ODW-PLA Document 33 Filed 09/25/17 Page 7 of 35 Page ID #:186



                     1   Healy v. James,
                     2     408 U.S. 169 (1972) ..................................................................................10, 16, 19
                     3   Hydrick v. Hunter,
                     4     669 F.3d 937 (9th Cir. 2012).................................................................................25
                     5   Jews for Jesus, Inc. v. City Coll. of S.F.,
                     6     2009 U.S. Dist. LEXIS 1613 (N.D. Cal. Jan. 12, 2009) .......................................12
                     7   Justice for All v. Faulkner,
                     8     410 F.3d 760 (5th Cir. 2005).................................................................................12
                     9   Khademi v. S. Orange Cty. Cmty. Coll. Dist.,
                 10        194 F. Supp. 2d 1011 (C.D. Cal. 2002) .........................................................passim
                 11      Lakewood v. Plan Dealer Publ’g Co.,
                 12        486 U.S. 750 (1988) ..............................................................................................20
                 13      Libertarian Party of L.A. Cty. v. Bowen,
                 14        709 F.3d 867 (9th Cir. 2013)...................................................................................5
                 15      Lopez v. Candaele,
                 16        630 F.3d 775 (9th Cir. 2010) ..........................................................................5, 6, 7
                 17      LSO, Ltd. v. Stroh,
                 18        205 F.3d 1146 (9th Cir. 2000).............................................................................4, 6
                 19      Lujan v. Defs. of Wildlife,
                 20        504 U.S. 555 (1992) ................................................................................................8
                 21      McGlone v. Bell,
                 22        681 F.3d 718 (6th Cir. 2012).................................................................................12
                 23      NAACP, W. Region v. City of Richmond,
                 24        743 F.2d 1346 (9th Cir. 1984)...............................................................................19
                 25      OSU Student Alliance v. Ray,
                 26        699 F.3d 1053 (9th Cir. 2012) ........................................................................passim
                 27
                 28                                                              -v-
LEADER & BERKON LLP
  ATTORNEYS AT LAW
                                           Plaintiff’s Opposition to Defendants’ Motion to Dismiss
    LOS ANGELES
           Case 2:17-cv-02386-ODW-PLA Document 33 Filed 09/25/17 Page 8 of 35 Page ID #:187



                     1   Perry Educ. Ass’n v. Perry Local Educators’ Ass’n,
                     2     460 U.S. 37 (1983) ............................................................................................9, 18
                     3   Pleasant Grove City v. Summum,
                     4     555 U.S. 460 (2009) ................................................................................................9
                     5   Preminger v. Peake,
                     6     552 F.3d 757 (9th Cir. 2008)...................................................................................4
                     7   Pro-Life Cougars v. Univ. of,
                     8     Hous., 259 F. Supp. 2d 575 (S.D. Tex. 2003).................................................12, 17
                     9   Real v. City of Long Beach,
                 10        852 F.3d 929 (9th Cir. 2017)...................................................................................6
                 11      Roberts v. Haragan,
                 12        346 F. Supp. 2d 853 (N.D. Tex. 2004) ...........................................................12, 16
                 13      Rock for Life-UMBC v. Hrabowski,
                 14        411 F. App’x 541 (4th Cir. 2010) ...........................................................................4
                 15      Rosen v. Port of Portland,
                 16        641 F.2d 1243 (9th Cir. 1981)...............................................................................19
                 17      Schneider v. New Jersey,
                 18        308 U.S. 147 (1939) ..............................................................................................16
                 19      Shuttlesworth v. Birmingham,
                 20        394 U.S. 147 (1969) ..............................................................................................19
                 21      Souders v. Lucero,
                 22        196 F.3d 1040 (9th Cir. 1999).............................................................................. 15
                 23      Starr v. Baca,
                 24        652 F.3d 1202 (9th Cir. 2011)..............................................................................22
                 25      Steffel v. Thompson,
                 26        415 U.S. 452 (1974) ................................................................................................5
                 27
                 28                                                              - vi -
LEADER & BERKON LLP
  ATTORNEYS AT LAW
                                           Plaintiff’s Opposition to Defendants’ Motion to Dismiss
    LOS ANGELES
           Case 2:17-cv-02386-ODW-PLA Document 33 Filed 09/25/17 Page 9 of 35 Page ID #:188



                     1   Students for Life USA v. Waldrop,
                     2      2015 U.S. Dist. LEXIS 23899 (S.D. Ala. Feb. 27, 2015).....................................14
                     3   Susan B. Anthony List v. Driehaus,
                     4      134 S. Ct. 2334 (2014) ............................................................................................5
                     5   Thornhill v. Alabama,
                     6      310 U.S. 88 (1940) ................................................................................................16
                     7   Turner Broad. Sys., Inc. v. FCC,
                     8      512 U.S. 622 (1994) ..............................................................................................16
                     9   United Pub. Workers v. Mitchell,
                 10         330 U.S. 75 (1947) ..................................................................................................7
                 11      University of Cincinnati Chapter of Young Americans for Liberty v. Williams,
                 12         2012 U.S. Dist. LEXIS 80967 (S.D. Ohio June 12, 2012) .................13, 15, 16, 17
                 13      Watchtower Bible & Tract Soc’y of N.Y., Inc. v. Vill. of Stratton,
                 14         536 U.S. 150 (2002) ..............................................................................................19
                 15      Widmar v. Vincent,
                 16         454 U.S. 263 (1981) ..................................................................................10, 14, 15
                 17
                 18                                                            Statutes
                 19

                 20      42 U.S.C. § 1983.........................................................................................................9
                 21      Cal. Educ. Code § 70902(a)(2).................................................................................21
                 22      Cal. Educ. Code § 70902(d) .....................................................................................22
                 23      Cal. Educ. Code § 76120 .........................................................................................11
                 24
                 25
                 26
                 27
                 28                                                               - vii -
LEADER & BERKON LLP
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    LOS ANGELES
         Case 2:17-cv-02386-ODW-PLA Document 33 Filed 09/25/17 Page 10 of 35 Page ID #:189


                     1                MEMORANDUM OF POINTS AND AUTHORITIES
                     2   I.    STATEMENT OF FACTS
                     3         This lawsuit seeks to vindicate Plaintiff Kevin Shaw’s First Amendment
                     4   rights as a student at Los Angeles Pierce College (“Pierce”), a college in the Los
                     5   Angeles County Community College District (“LACCD”). The LACCD Board of
                     6   Trustees maintains Board Rules on freedom of expression (the “LACCD Policy”)
                     7   that classify each of the nine LACCD campuses as a “non-public forum,” with the
                     8   exception of “Free Speech Areas” that are classified as “limited public forums.” See
                     9   LACCD Board Rule, Chapter IX, Article IX, “Freedom of Speech,” Board Rules
                10       9901, et seq., Compl. Ex. A. Each college president is required to designate a “Free
                11       Speech Area” on his or her campus for “free discussion and expression by all
                12       persons.” Compl. Ex. A. Rule 9903 permits, but does not require, a college
                13       president to designate more than one such area for students. Rule 9902.11(a)
                14       requires that literature distribution take place only within these areas.
                15             Pierce implemented the LACCD Policy by designating a single free speech
                16       area for use by both university community members and outsiders, measuring
                17       approximately 616 square feet, about .007% of the main campus area. Compl. ¶¶
                18       41, 46, 53. Before making use of the area, students (and non-students) must
                19       complete a permit application obtained from the school’s administration. Compl. ¶
                20       48. Rules relating to the use of the free speech area (the “Pierce Policy”) are printed
                21       on the permit application, but are not otherwise publicly available. Compl. ¶ 40, Ex.
                22       C. The Pierce Policy incorporates the language of District Rule 9902.11, and does
                23       not on its face limit the discretion of administrators to deny or approve an
                24       application for use of the free speech area. Compl. ¶¶ 49–50. Shaw alleges that
                25       there are no other published or publicly available rules relating to free speech or
                26       expressive activity on Pierce’s campus. Compl. ¶ 40.
                27             On November 2, 2016, Shaw attempted to distribute Spanish-language copies
                28
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                                                                             Kevin A. Shaw vs. Kathleen F. Burke, et al.
                                                                                   Case No. 2:17-cv-02386-ODW-PLA
          Case 2:17-cv-02386-ODW-PLA Document 33 Filed 09/25/17 Page 11 of 35 Page ID #:190



                     1   of the U.S. Constitution outside the free speech area on the Pierce College Mall, a
                     2   campus thoroughfare. Compl. ¶¶ 14, 56–57. Shortly after arriving, Defendant Doe
                     3   approached Shaw, telling him he was violating campus policy by being outside the
                     4   free speech area. Compl. ¶¶ 59–60. When Shaw asked Doe what would happen if
                     5   he were to continue, Doe said Shaw would be asked to leave campus. Compl. ¶ 61.
                     6   Doe insisted that Shaw accompany him to the Associated Student Organization
                     7   (“ASO”) office and complete a permit application, which Shaw did. Compl. ¶¶ 60,
                     8   62. A few days later, Shaw emailed Pierce administrators stating that he planned to
                     9   gather petition signatures without prior approval outside of the free speech area,
                 10      which he did for several hours on November 16 without encountering any Pierce
                 11      administrators. Compl. ¶¶ 64, 66. While doing so, he observed a large
                 12      demonstration that formed outside of the free speech area to protest then-President-
                 13      Elect Donald Trump. Compl. ¶ 66.
                 14            Shaw subsequently emailed Defendant Marmolejo, Pierce’s Dean of Student
                 15      Services, to request a copy of the Pierce Policy printed on his November 2 permit
                 16      application. Compl. ¶¶ 68–72. That application directs individuals who wish to use
                 17      the free speech area to the Vice President of Student Services Office. Compl. Ex. C,
                 18      p. 1. Marmolejo forwarded the email to Defendant Astorga, Pierce’s Dean of
                 19      Student Engagement, who informed Shaw that “[t]he use of the Free Speech area
                 20      [sic] is under my purview[,]” that all individuals using the area must fill out “a free
                 21      speech use form[,]” and invited Shaw to come see him next time he wished to
                 22      distribute literature on campus. Compl. ¶¶ 73, 74. Thereafter, it took over two
                 23      weeks and several attempts for Shaw to obtain a copy of the Pierce Policy from
                 24      Astorga’s office. Compl. ¶ 77.
                 25            Shaw wishes to engage in additional expressive activity on campus without
                 26      seeking permission and without confining his advocacy to a space consisting of far
                 27      less than 1% of Pierce’s main campus area. Compl. ¶ 88. He fears, however, that he
                 28                                                -2-
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    LOS ANGELES
          Case 2:17-cv-02386-ODW-PLA Document 33 Filed 09/25/17 Page 12 of 35 Page ID #:191



                     1   will be punished or again forced to confine his speech to the free speech area if he
                     2   were to encounter an administrator while engaged in such activities.
                     3   II.    ARGUMENT
                     4          This is a simple case. On November 2, 2016, Defendants violated the First
                     5   Amendment by enforcing policies that limit Shaw’s clearly established right to
                     6   engage in constitutionally protected activity. Shaw seeks to engage in similar
                     7   activity in the future and risks being subjected to the offending policies again.
                     8   Defendants enacted, implemented, enforced, and have the capacity to rescind the
                     9   policies in question. Under these circumstances, there can be no reasonable dispute
                 10      that Shaw is entitled to proceed with his claim for damages, injunctive, and
                 11      declaratory relief. The court should therefore deny Defendants’ motion to dismiss.1
                 12      A.     Defendants’ 12(b)(1) Motion Should Be Denied Because Shaw Has
                 13             Standing To Bring His Claims.
                 14             Defendants err in arguing that Shaw lacks standing to assert his facial and as-
                 15      applied challenges to the LACCD and Pierce policies and practices at issue here. To
                 16      establish Article III standing, a plaintiff must allege that: (1) he has suffered an
                 17      injury-in-fact that is “concrete and particularized” and “actual or imminent, not
                 18      conjectural or hypothetical”; (2) “the injury is fairly traceable to the challenged
                 19      action of the defendant[s]”; and (3) the injury “is likely to be redressed by a
                 20      favorable decision.” Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc.,
                 21      528 U.S. 167, 180–81 (2000). Shaw’s allegations satisfy these requirements.
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                          Defendants’ notice of motion references an alternative motion for a more definite statement
                 25      pursuant to Rule 12(e), but they make no mention of that alternative motion in their
                         Memorandum of Points and Authorities (“Defs.’ Mem.”). Defendants alternative motion is thus
                 26      not properly presented, nor have Defendants met their burden to show that Shaw’s Complaint is
                 27      so vague and ambiguous that Defendants “literally cannot frame a responsive pleading.”
                         Bureerong v. Uvawas, 922 F. Supp. 1450, 1461 (C.D. Cal. 1996).
                 28                                                    -3-
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    LOS ANGELES
          Case 2:17-cv-02386-ODW-PLA Document 33 Filed 09/25/17 Page 13 of 35 Page ID #:192



                     1         1.     Because he was subjected to the very policies he challenges, Shaw
                     2                has suffered a concrete and particularized injury-in-fact.
                     3         Shaw challenges an LACCD Policy that relegates expressive activity on its
                     4   campuses to a free speech area, and a Pierce Policy that implements the LACCD
                     5   policy by confining such activity to a tiny portion of campus and requiring speakers
                     6   to obtain advance approval from the college’s administration. Compl. ¶¶ 28–53.
                     7   Shaw has been subjected to the very policies and practices he seeks to challenge: In
                     8   November 2016, while engaging in expressive activity on campus, Doe told him
                     9   that he was violating campus policy; that he needed a permit to engage in free
                 10      speech activity; and that, once obtained, he would need to confine his speech to the
                 11      free speech area. Compl. ¶¶ 56–62.
                 12            A plaintiff has standing to challenge a policy or rule that he has been
                 13      subjected to. See, e.g., Preminger v. Peake, 552 F.3d 757, 764 (9th Cir. 2008)
                 14      (having “no trouble concluding that [plaintiff] has direct standing to bring an as-
                 15      applied First Amendment challenge” to a regulation applied to prevent him from
                 16      registering voters on government property, and finding his harm was “actual,
                 17      concrete, and particularized”); Rock for Life-UMBC v. Hrabowski, 411 F. App’x
                 18      541, 549 (4th Cir. 2010) (student group had standing to bring facial and as-applied
                 19      challenges to university facilities use policy that led to relocation of group’s
                 20      demonstration). Thus, there can be no reasonable dispute that Shaw has standing to
                 21      seek retroactive relief regarding Defendants’ policies.
                 22            2.     There is a credible risk of future enforcement of the policies.
                 23            A litigant is not required to “‘await the consummation of threatened injury to
                 24      obtain preventive relief.’” LSO, Ltd. v. Stroh, 205 F.3d 1146, 1154 (9th Cir. 2000)
                 25      (quoting Blanchette v. Conn. Gen. Ins. Corps., 419 U.S. 102, 143 (1974)). Rather,
                 26      to establish injunctive standing, it is sufficient that a plaintiff “intends to engage in
                 27      ‘a course of conduct arguably affected with a constitutional interest’ and that there
                 28                                                 -4-
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    LOS ANGELES
          Case 2:17-cv-02386-ODW-PLA Document 33 Filed 09/25/17 Page 14 of 35 Page ID #:193



                     1   is a credible threat that the challenged provision will be invoked against the
                     2   plaintiff.” Id. at 1154–55 (quoting Babbitt v. United Farm Workers Nat’l Union,
                     3   442 U.S. 289, 298 (1979)). “[W]hen the threatened enforcement effort implicates
                     4   First Amendment rights, the inquiry tilts dramatically toward a finding of
                     5   standing.” Id. at 1155.
                     6         In Lopez v. Candaele, the Ninth Circuit articulated several factors that guide
                     7   whether a plaintiff shows a credible threat of enforcement sufficient to establish an
                     8   injury-in-fact: (1) whether the plaintiff shows a “reasonable likelihood that the
                     9   government will enforce the challenged law against them”; (2) whether the plaintiff
                 10      has established “with some degree of concrete detail, that they intend to violate the
                 11      challenged law”; and (3) whether the challenged law or rule is applicable to the
                 12      plaintiff, “either by its terms or as interpreted by the government.” 630 F.3d 775,
                 13      786 (9th Cir. 2010).
                 14            As to the first factor, Shaw has demonstrated that Pierce will likely enforce
                 15      its unconstitutional policies against him. The government’s “preliminary efforts to
                 16      enforce a speech restriction or its past enforcement of a restriction” is “strong
                 17      evidence” of a credible threat of state action. Id. at 786. Indeed, “past enforcement
                 18      against the same conduct is good evidence that the threat of enforcement is not
                 19      ‘chimerical.’” Susan B. Anthony List v. Driehaus, 134 S. Ct. 2334, 2345 (2014)
                 20      (quoting Steffel v. Thompson, 415 U.S. 452, 459 (1974)). Shaw was subjected to the
                 21      LACCD and Pierce Policies on November 2, 2016, when he was required to apply
                 22      for a permit, change location, and limit his expressive activity to the free speech
                 23      area. Compl. ¶¶ 56–63.
                 24            Moreover, Pierce’s Standards of Student Conduct notify students that
                 25      violations of college rules regarding the “time, place, and manner of public
                 26      expression or distribution of materials” can result in disciplinary action. Compl.
                 27      ¶ 55. This notification lends credibility to the threat of enforcement. See Libertarian
                 28                                                -5-
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    LOS ANGELES
          Case 2:17-cv-02386-ODW-PLA Document 33 Filed 09/25/17 Page 15 of 35 Page ID #:194



                     1   Party of L.A. Cty. v. Bowen, 709 F.3d 867, 871 (9th Cir. 2013) (“threat of
                     2   enforcement” requirement satisfied where defendant secretary of state posted
                     3   challenged regulation on her website as a “requirement” of political petitioners).
                     4          Defendants argue that the likelihood of future enforcement is lacking because
                     5   Shaw and anti-Trump demonstrators were allowed to engage in expressive activity
                     6   outside the free speech area on November 16. Defs.’ Mem. 8–10. But Defendants
                     7   have not rescinded their policies or disavowed their future enforcement and they are
                     8   vehemently defending their legality in this litigation. Defs.’ Mem. 11, 16. This
                     9   militates in favor of a finding of standing. LSO, 205 F.3d at 1155.2
                 10             Indeed, Defendants’ inconsistent enforcement of their policies bolsters,
                 11      rather than undercuts, Plaintiff’s standing to challenge Defendants’ policies as a
                 12      prior restraint because it demonstrates that Defendants’ decisions about whether to
                 13      enforce them are subjective and unpredictable. See Real v. City of Long Beach, 852
                 14      F.3d 929, 933 (9th Cir. 2017) (when permitting scheme vests unbridled discretion
                 15      in official, plaintiff may bring facial challenge without first applying for license
                 16      because the case-by-case nature of as-applied challenges renders authority’s
                 17      discretion effectively unreviewable); accord Khademi v. S. Orange Cty. Cmty. Coll.
                 18      Dist., 194 F. Supp. 2d 1011, 1019 (C.D. Cal. 2002).
                 19             Defendants rely on the Court’s finding in Lopez that the student plaintiff
                 20      lacked standing, Defs.’ Mem. 6–7, but the policy challenged there had never been
                 21
                         2
                           Defendants also rely on Shaw’s post-November 2 expressive activity to argue that he suffered
                 22      no chilling effect on his speech and so fails to show a present or future threat of harm. Defs.’
                 23      Mem. 9-10. This ignores that his speech was chilled on November 2 when he acquiesced to Doe’s
                         direction to obtain permission for, move to, and remain in the free speech area. Moreover, many
                 24      countless others might be deterred by Defendants’ policies and practices. Thus, in a First
                         Amendment facial overbreadth challenge, a court must take into account the chilling effect on
                 25      those not before the court who may refrain from speaking because of the rule’s very existence.
                         Canatella v. California, 304 F.3d 843, 853 (9th Cir. 2002); see also Khademi v. S. Orange Cty.
                 26      Cmty. Coll. Dist., 194 F. Supp. 2d 1011, 1018 (C.D. Cal. 2002) (in a facial overbreadth challenge,
                 27      “the general limitation on standing is relaxed because there exists a danger of chilling free speech
                         in society as a whole”) (internal quotation marks omitted).
                 28                                                        -6-
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    LOS ANGELES
          Case 2:17-cv-02386-ODW-PLA Document 33 Filed 09/25/17 Page 16 of 35 Page ID #:195



                     1   applied to the plaintiff and he faced no threat of its being applied to him in the
                     2   future. 630 F.3d at 784, 789. Even then, because his speech arguably fell within the
                     3   scope of the policy he challenged, the Lopez court explained that he came to “the
                     4   very edge” of establishing standing because both “[f]ormal and informal
                     5   enforcement of policies that regulate speech on college campuses raise issues of
                     6   profound concern[,]” id. at 793–94. If the Lopez student came to “the very edge,”
                     7   Shaw has surely surpassed it; the offending policies were applied to him and he
                     8   remains subject to them in the future. Shaw easily satisfies the first Lopez factor:
                     9   his allegations demonstrate a “reasonable likelihood that the government will
                 10      enforce the challenged law against [him].” Id. at 786.
                 11             As to the second Lopez factor, Shaw adequately pleads, “with some degree of
                 12      concrete detail, that [he] intend[s] to violate the challenged law.” Id. Shaw has
                 13      alleged not only that he seeks to engage in expressive activity in violation of both
                 14      the LACCD and Pierce Policies that were enforced on November 2, but also that he
                 15      has done so since then and intends to continue doing so in the future. Compl. ¶¶ 56–
                 16      66, 88. In short, he alleges the intention to engage in the very the kind of activity
                 17      that triggered application of Pierce’s policy and practices on November 2. These
                 18      allegations are “specific enough so that a court need not ‘speculate as to the kinds
                 19      of political activity the [plaintiffs] desire to engage in . . . .” Id. at 787 (quoting
                 20      United Pub. Workers v. Mitchell, 330 U.S. 75, 90 (1947)) (brackets in original).
                 21      Shaw has “provide[d] adequate details about [his] intended speech” and has gone
                 22      far beyond the “hypothetical intent to violate the law” that concerned the Lopez
                 23      court. Id. (internal quotation omitted).
                 24             Finally, Shaw satisfies the third Lopez factor: —whether the challenged
                 25      policy is applicable to the plaintiff, “either by its terms or as interpreted by the
                 26      government.” Id. at 786. He has shown that Defendants’ policies are applicable to
                 27      him in both respects. The policies were applied to his expressive activity on
                 28                                                  -7-
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    LOS ANGELES
          Case 2:17-cv-02386-ODW-PLA Document 33 Filed 09/25/17 Page 17 of 35 Page ID #:196



                     1   November 2. Compl. ¶¶ 56–62. Later, Defendant Astorga told Shaw that the use of
                     2   the free speech area was under Astorga’s purview and advised him to “come see me
                     3   next time you would like to distribute any materials and I would be more than
                     4   happy to provide you with the paperwork for you [sic].” Compl. ¶ 74. Thus,
                     5   Defendants have expressly indicated that they will impose the challenged policies
                     6   on Shaw’s expressive activity.
                     7          3.     Shaw’s allegations satisfy the remaining standing elements.
                     8          Shaw’s allegations demonstrate that his injury is “fairly traceable” to the
                     9   challenged actions of Defendants because he has shown “a causal connection
                 10      between the injury and the conduct complained of” and his injury is “not the result
                 11      of the independent action of some third party not before the court.” Lujan v. Defs.
                 12      of Wildlife, 504 U.S. 555, 560 (1992) (internal quotation omitted). Defendants’
                 13      policies have restricted his expressive activity and “as written, could possibly
                 14      prevent [Shaw] from engaging in certain constitutionally protected activities,
                 15      restrict [his] manner of expression, and/or expose [him] to disciplinary action for
                 16      engaging in certain protected activities.” Khademi, 194 F. Supp. 2d at 1019.
                 17             Shaw’s allegations also demonstrate that his injury is likely to be redressed
                 18      by a favorable decision because the challenged policies and practices
                 19      unconstitutionally limit his expressive rights. Striking down, enjoining, or declaring
                 20      these policies unconstitutional would allow Shaw and other students to fully enjoy
                 21      their First Amendment rights. See Friends of the Earth, 528 U.S. at 185–86 (“for a
                 22      plaintiff who is injured or faces the threat of future injury due to illegal conduct
                 23      ongoing at the time of suit, a sanction that effectively abates that conduct and
                 24      prevents its recurrence provides a form of redress”); Khademi, 194 F. Supp. 2d at
                 25      1019 (where college policy on campus speech as written could restrict
                 26      constitutionally protected speech, a favorable decision enjoining enforcement “will
                 27      likely redress Plaintiffs’ injuries”).
                 28                                                -8-
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    LOS ANGELES
          Case 2:17-cv-02386-ODW-PLA Document 33 Filed 09/25/17 Page 18 of 35 Page ID #:197



                     1   B.    Eleventh Amendment Immunity Does Not Bar Shaw’s Individual
                     2         Capacity Claims.
                     3         Defendants’ argument that the Eleventh Amendment bars claims for
                     4   monetary damages against state government agents sued in their official capacity is
                     5   irrelevant because Shaw asserts damages claims against only those Defendants sued
                     6   in their individual capacity. See Hafer v. Melo, 502 U.S. 21, 30–31 (1991)
                     7   (Eleventh Amendment immunity does not bar claims for damages in personal
                     8   capacity suits under 42 U.S.C. § 1983 for actions taken under color of state law).
                     9   C.    Defendants’ 12(b)(6) Motion Should Be Denied Because Shaw Pleads
                 10            Claims Upon Which Relief Can Be Granted.
                 11            Shaw has properly pled viable First Amendment claims against all
                 12      Defendants. His expressive activity was protected under the First Amendment and
                 13      was restricted by unconstitutional policies.
                 14            Under forum analysis doctrine, public property historically associated with
                 15      unfettered exercise of expressive activities, such as streets and parks, are traditional
                 16      public forums. Pleasant Grove City v. Summum, 555 U.S. 460, 469 (2009). Areas
                 17      that have been intentionally opened for public discourse are considered designated
                 18      public forums. Id. In these type of forums, the government may put in place
                 19      content-neutral time, place, and manner restrictions on speech, but such restrictions
                 20      must be narrowly tailored to serve a significant government interest and must leave
                 21      open ample alternative channels of communication. Perry Educ. Ass’n v. Perry
                 22      Local Educators’ Ass’n, 460 U.S. 37, 45-46 (1983). Speech restrictions on public
                 23      property that is not a traditional or designated public forum—limited or non-public
                 24      forums—must be reasonable and viewpoint neutral. Id. at 46.
                 25            The LACCD Policy deems all but so-called “Free Speech Areas” to be
                 26      nonpublic forums in which expressive activity is prohibited. See Compl. ¶¶ 35–39.
                 27      Pierce sets aside a single free speech area, measuring approximately 616 square feet
                 28                                                -9-
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    LOS ANGELES
          Case 2:17-cv-02386-ODW-PLA Document 33 Filed 09/25/17 Page 19 of 35 Page ID #:198



                     1   and comprising .007% of the main campus area, Compl. ¶¶ 45, 46, 53, 71, 72, and
                     2   requires individuals to obtain a permit before using the space, Compl. ¶ 48. These
                     3   restrictions cannot be squared with time-honored free speech principles on public
                     4   campuses.3 The outdoor campus forum at issue here is, at minimum, a designated
                     5   public forum with respect to students. Moreover, regardless of the type, the policies
                     6   at issue here fail under the scrutiny applicable in any forum.
                     7          1.      Outdoor areas of the LACCD campuses, including Pierce College,
                     8                  are traditional or designated public forums for student speech.
                     9          Because the “college classroom with its surrounding environs is peculiarly
                 10      ‘the marketplace of ideas,’” the Supreme Court long ago rejected the notion that
                 11      “First Amendment protections should apply with less force on college campuses
                 12      than in the community at large.” Healy v. James, 408 U.S. 169, 180 (1972).
                 13      Although a college need not “make all of its facilities equally available to students
                 14      and nonstudents alike,” “the campus of a public university, at least for its students,
                 15      possesses many of the characteristics of a public forum.” Widmar v. Vincent, 454
                 16      U.S. 263, 267 n.5 (1981). Thus, in these areas, there is a “significant interest in the
                 17      widest latitude for free expression and debate consonant with the maintenance of
                 18      order.” Healy, 408 U.S. at 171. Accordingly, the California legislature, the Ninth
                 19      Circuit, and the overwhelming majority of courts to address the issue set a high bar
                 20      for the protection of student speech on public campuses.
                 21                     a. The California Education Code affirmatively designates
                 22                         community college campuses as open to student expression.
                 23             The California Education Code directs the governing board of community
                 24      college districts to adopt reasonable time, place, and manner regulations on student
                 25
                         3
                           Indeed, the California State University’s Office of General Counsel’s Handbook of Free Speech
                 26      Issues states: “having exclusive ‘free speech zones’ where all free speech activity must occur will
                 27      not be sustained.” Calif. State Univ., Office of General Counsel, Handbook of Free Speech
                         Issues 8 (May 2009), available at https://www.calstate.edu/gc/Docs/FreeSpeechHandbook.pdf.
                 28                                                      - 10 -
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    LOS ANGELES
          Case 2:17-cv-02386-ODW-PLA Document 33 Filed 09/25/17 Page 20 of 35 Page ID #:199



                     1   expression on campuses that “shall not prohibit the right of students to exercise free
                     2   expression including, but not limited to … the distribution of printed materials or
                     3   petitions” except in certain instances of legally unprotected speech, lawful college
                     4   regulation, “or the substantial disruption of the orderly operation of the community
                     5   college. . . .” Cal. Educ. Code § 76120 (emphasis added).
                     6         In OSU Student Alliance v. Ray, the Ninth Circuit relied on an Oregon state
                     7   regulation to find that a public campus was “at least a designated public forum[,]”
                     8   and noted that “[i]n the past, we have suggested that college campuses may be
                     9   traditional public fora for students . . . .” 699 F.3d 1053, 1062, 1063 n.4 (9th Cir.
                 10      2012) (emphasis added). The regulation provided that the university grounds were
                 11      “open to the public and the University community for speech activities except any
                 12      grounds designated for authorized access only[,]” and the court found that “the state
                 13      has ‘intentionally dedicate[d] [campus] property to expressive conduct,’ thereby
                 14      creating a designated public forum.” Id. at 1063 (quoting Flint v. Dennison, 488
                 15      F.3d 816, 830 (9th Cir. 2007)).
                 16            Similarly here, the Education Code evidences the intent to dedicate campus
                 17      property to students’ expressive conduct and thereby creates a designated public
                 18      forum.
                 19                   b. Even absent designation, open, outdoor areas of campus are
                 20                      traditional or designated public forums.
                 21            A court seeking to categorize government property must look at “the actual
                 22      use and purposes of the property,” “the area’s physical characteristics,” and the
                 23      “traditional or historic use of both the property in question and other similar
                 24      properties[.]” ACLU of Nev. v. City of Las Vegas, 333 F.3d 1092, 1100 (9th Cir.
                 25      2003). “[T]he factors emphasized by the courts consistently reflect two underlying
                 26      considerations[,]” namely, whether the expressive activity is incompatible with the
                 27
                 28                                               - 11 -
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    LOS ANGELES
          Case 2:17-cv-02386-ODW-PLA Document 33 Filed 09/25/17 Page 21 of 35 Page ID #:200



                     1   forum and a “commitment by the courts to guarding speakers’ reasonable
                     2   expectations that their speech will be protected.” Id.
                     3          Applying these principles, the Ninth Circuit and its sister circuits have
                     4   generally agreed that the open, outdoor areas of public campuses are either
                     5   traditional or designated public forums with respect to students’ speech. See OSU,
                     6   699 F.3d at 1063 n.4.4 This Court has followed suit. Khademi, 194 F. Supp. 2d at
                     7   1024 (C.D. Cal. 2002) (holding that “there is no doubt” the facilities and areas of
                     8   community college campuses generally accessible to the public were designated
                     9   public forums); Burbridge v. Sampson, 74 F. Supp. 2d 940, 947–48 (C.D. Cal.
                 10      1999) (same). In a case involving non-student plaintiffs, the Northern District of
                 11      California went further, finding that “[a] primary purpose of a college or university
                 12      is to contribute to the exchange of ideas” and that “sidewalks and plazas on a
                 13      publicly-supported college campus constitute a public forum….” Jews for Jesus,
                 14      Inc. v. City Coll. of S.F., Civ. No. 08-03876, 2009 U.S. Dist. LEXIS 1613, at *3, *9
                 15      (N.D. Cal. Jan. 12, 2009); accord Pro-Life Cougars v. Univ. of Hous., 259 F. Supp.
                 16      2d 575, 582 (S.D. Tex. 2003) (finding that the university generally and plaza at
                 17      issue were “public fora designated for student speech”).
                 18             Several courts have held that these open, outdoor areas are traditional or
                 19      designated public forums for student speech even when a college has by policy
                 20      placed them off limits by creating free speech areas. Thus, in Roberts v. Haragan,
                 21
                 22      4
                           See Justice for All v. Faulkner, 410 F.3d 760, 769 (5th Cir. 2005) (striking down literature
                 23      distribution policy challenged by student organization because “[a] university campus is clearly
                         an appropriate place for communication of views on issues of political and social significance”)
                 24      (internal quotation omitted); Hays Cnty. Guardian v. Supple, 969 F.2d 111, 117 (5th Cir. 1992)
                         (reasoning that campus functions for its students as a “place where people may enjoy the open air
                 25      or the company of friends and neighbors in a relaxed environment … and suggests an intended
                         role more akin to a public street or park than a non-public forum.”) (internal quotation marks and
                 26      citations omitted); cf. McGlone v. Bell, 681 F.3d 718, 732 (6th Cir. 2012) (in the context of non-
                 27      student plaintiffs, finding that “[t]he perimeter sidewalks along [college’s] campus are traditional
                         public forums and all other open areas are designated public fora.”).
                 28                                                       - 12 -
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    LOS ANGELES
          Case 2:17-cv-02386-ODW-PLA Document 33 Filed 09/25/17 Page 22 of 35 Page ID #:201



                     1   the court enjoined the free speech areas at Texas Tech University, holding that “[t]o
                     2   the extent the campus has park areas, sidewalks, streets, or other similar common
                     3   areas, these areas are public forums, at least for the University’s students,
                     4   irrespective of whether the University has so designated them or not.” 346 F. Supp.
                     5   2d 853, 861 (N.D. Tex. 2004). The court explained that open campus areas could be
                     6   thought of as traditional or designated forums for student use. Id. at 861 n. 8. The
                     7   court acknowledged that, given the school’s policy, these areas were not
                     8   “designated public forums” in the typical use of that term; “[r]ather, the
                     9   ‘designated’ character results from the mere fact that the University has ‘designed’
                 10      its campus to include areas that … correspond directly to their counterpart,
                 11      traditional public forums outside the campus.” Id. (internal citations omitted).
                 12            Similarly, in University of Cincinnati Chapter of Young Americans for
                 13      Liberty v. Williams, the court enjoined a university’s confinement of
                 14      “demonstrations, picketing, and rallies” to a free speech area comprising 0.1% of
                 15      campus. Civ. No. 12-155, 2012 U.S. Dist. LEXIS 80967, at *29–30 (S.D. Ohio June
                 16      12, 2012). Although university policy labeled its campus a limited public forum,
                 17      the court held that the sidewalks and open outdoor areas of campus were designated
                 18      public forums as to students. Id. at *18.
                 19            The LACCD’s labels—which go even further than the unconstitutional
                 20      Williams policy, declaring all college property to be non-public forums and the free
                 21      speech areas to be limited public forums—cannot control the analysis here. See City
                 22      of Las Vegas, 333 F.3d at 1104 (“[T]he intent of a government to create a nonpublic
                 23      forum has no direct bearing upon traditional public forum status.”). What matters is
                 24      the nature and purpose of the property. Id. at 1100. Generally accessible outdoor
                 25      areas of a campus physically and functionally resemble the examples of
                 26      quintessential traditional public forums, which are considered inherently compatible
                 27      with expressive activity. See id. at 1101 (“[W]hen a property is used for open public
                 28                                                  - 13 -
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    LOS ANGELES
          Case 2:17-cv-02386-ODW-PLA Document 33 Filed 09/25/17 Page 23 of 35 Page ID #:202



                     1   access or as a public thoroughfare, we need not expressly consider the compatibility
                     2   of expressive activity because these uses are inherently compatible with such
                     3   activity.”). Shaw alleges that Pierce’s many open areas and sidewalks—not just its
                     4   616-square-foot free speech area—are compatible with expressive activity without
                     5   compromising campus operations. Compl. ¶¶ 46, 54.
                     6          Rather than contending with the cases cited above, Defendants cite an out-of-
                     7   circuit case holding that a college campus’ perimeter was not a traditional public
                     8   forum. Students for Life USA v. Waldrop, Civ. No. 14-0157, 2015 U.S. Dist. LEXIS
                     9   23899 (S.D. Ala. Feb. 27, 2015). But the policy there opened the vast majority of
                 10      the university’s campus for expressive activity. Id. at *2. It was the mirror image of
                 11      the situation here: that policy allowed speech on all but a small part of campus; the
                 12      policy here disallows speech on all but a tiny part of the Pierce campus. Moreover,
                 13      the plaintiffs in Waldrop did not argue that even if the campus’s perimeter was not
                 14      a traditional public forum, it should be deemed a designated public forum, see id. at
                 15      *6, *16–17, an argument that Shaw makes here.
                 16             Defendants also rely on cases involving non-students’ access to college
                 17      campuses. Defs.’ Mem. 19.5 These cases are beside the point, as Shaw is a Pierce
                 18      student, and Widmar and lower courts have held that schools can regulate non-
                 19      students’ expressive access to public campuses to a greater extent than they can
                 20      limit students’ access to such areas. See Widmar, 454 U.S. at 267 n. 5; OSU, 699
                 21
                 22      5
                           At the same time, Defendants claim—adding facts outside the Complaint—they were unaware
                 23      Shaw was a student on November 2. Defs.’ Mem. 3. However, the policies in question apply to
                         students. The LACCD Policy directs the designation of at least one free speech area for use by
                 24      “all persons.” Compl. Ex. A, LACCD Policy § 9902. The Pierce Policy provides, “Any person
                         who is found to have expressed speech in violation of this section may be subject to the sanctions
                 25      applicable respectively to students, staff, faculty, or visitors.” Compl. Ex. C. Moreover,
                         Defendants’ argument that students are entitled to no greater free speech protections than non-
                 26      students demonstrates that they interpret their Policies to apply with equal force to both sets of
                 27      individuals. Defs.’ Mem. 19. And they argue their policies can be permissibly applied to the
                         Plaintiff going forward, knowing full well that he is a student.
                 28                                                       - 14 -
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    LOS ANGELES
          Case 2:17-cv-02386-ODW-PLA Document 33 Filed 09/25/17 Page 24 of 35 Page ID #:203



                     1   F.3d at 1063 n. 4; Williams, 2012 U.S. Dist. LEXIS 80967 at *12, *18; Roberts,
                     2   346 F. Supp. 2d at 861. Even Souders v. Lucero, which Defendants cite, Defs.’
                     3   Mem. 13, involves a non-student plaintiff and distinguishes between the expansive
                     4   rights of students and more restricted rights of non-students. 196 F.3d 1040, 1044
                     5   (9th Cir. 1999) (discussing Widmar).
                     6         Finally, Defendants rely on Desyllas v. Bernstine, 351 F.3d 934 (9th Cir.
                     7   2003). Defs.’ Mem 13. But Desyllas involved students posting fliers on columns, in
                     8   violation of a university policy prohibiting unapproved postings on campus
                     9   structures because of the damage such postings can cause. Id. at 938. A prohibition
                 10      on permanently affixing items to campus buildings cannot be analogized to an all-
                 11      encompassing restriction on the core protected speech at issue here.
                 12            The weight of the case law demonstrates that the sidewalks, thoroughfares,
                 13      lawns, and other generally accessible areas of Pierce’s campus are public forums
                 14      for student speech, despite the LACCD Policy’s characterization of district
                 15      campuses as nonpublic forums.
                 16            2.     Defendants’ Policies are not consistent with rules governing
                 17                   traditional or designated public forums.
                 18            In a public forum or designated public forum, a content-neutral restriction on
                 19      protected speech is unconstitutional if it fails to meet any part of the test requiring it
                 20      to be narrowly tailored to serve a significant government interest and leave open
                 21      ample alternative channels of communication. See Grossman v. City of Portland, 33
                 22      F.3d 1200, 1205 (9th Cir. 1994) (“The failure to satisfy any single prong of this test
                 23      invalidates the requirement.”). Defendants’ policies fail to meet all of them.
                 24                   a.     The policies are not narrowly tailored to serve a significant
                 25                          interest.
                 26            A regulation of speech is not sufficiently tailored when it fails to narrowly
                 27      address problems of legitimate government concern and “sweeps within its ambit”
                 28                                                - 15 -
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    LOS ANGELES
          Case 2:17-cv-02386-ODW-PLA Document 33 Filed 09/25/17 Page 25 of 35 Page ID #:204



                     1   protected speech. Thornhill v. Ala, 310 U.S. 88, 97 (1940). Furthermore, a
                     2   government interest is not significant if it is merely “conjectural” rather than “real.”
                     3   Turner Broad. Sys., Inc. v. FCC, 512 U.S. 622, 664 (1994). Accordingly,
                     4   defendants must do more than “assert[] interests [that] are important in the abstract.
                     5   . . .” Id. The “undifferentiated fear or apprehension of disturbance [is] not enough to
                     6   overcome the right to freedom of expression” on a college campus. Healy, 408 U.S.
                     7   at 191 (internal quotation omitted).
                     8         Even assuming Defendants’ interests in “avoiding disruption, insuring safety,
                     9   comfort, or convenience of the public, and maintaining grounds that are attractive
                 10      and intact” are significant, Defs.’ Mem. 14, Shaw’s allegations demonstrate that the
                 11      restrictions at issue are not narrowly tailored to serve these interests. Defendants
                 12      claim that LACCD’s policy is necessary to avoid “safety and sanitation issues,”
                 13      Defs.’ Mem. 14. But at this stage in the litigation, that is nothing more than
                 14      conjecture. The Supreme Court held decades ago that the prevention of littering is
                 15      insufficient to justify a prohibition on leafleting in a public thoroughfare. Schneider
                 16      v. State, 308 U.S. 147, 162–65 (1939). Furthermore, Defendants allow students to
                 17      walk around the open, outdoor areas of the LACCD campuses when they are
                 18      undoubtedly holding material that could be littered at will. Restricting students’
                 19      movement only when they are engaged in protected expression cannot be defended
                 20      as keeping campus grounds attractive.
                 21            Defendants also argue that “[w]ithout the designation of free speech areas,
                 22      individuals would be able to congregate on walkways outside of doors and
                 23      buildings . . . .” Defs.’ Mem. 14. Both the Williams and Roberts courts rejected this
                 24      argument as a defense of free speech areas on public college campuses, reasoning
                 25      that the schools could draft rules targeted at actual disruption, such as regulations
                 26      on large crowds, sound amplification near buildings, or blocking building access.
                 27      Williams, 2012 U.S. Dist. LEXIS 80967 at *20–*22; Roberts, 346 F. Supp. 2d at
                 28                                               - 16 -
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    LOS ANGELES
          Case 2:17-cv-02386-ODW-PLA Document 33 Filed 09/25/17 Page 26 of 35 Page ID #:205



                     1   870 n.20. The Williams court noted, “At least one other Ohio public university has
                     2   been able to satisfy similar interests with nothing more than an anti-disruption
                     3   policy.” 2012 U.S. Dist. LEXIS 80967 at *21 n.3.
                     4         Equally baseless is Defendants’ claim that, without the challenged
                     5   restrictions, students would “compete for use of college grounds.” Defs.’ Mem. 14.
                     6   It is difficult to see how limiting free expression to a tiny area of campus would
                     7   decrease competition for the use of college grounds.
                     8         Indeed, the LACCD and Pierce policies sweep so broadly that they cannot be
                     9   deemed narrowly tailored to anything. In striking down a community college
                 10      district policy “that prohibit[ed] students from distributing writings ‘inside all
                 11      buildings including classrooms’ and in ‘parking lots,’” this Court observed,
                 12      “because the provisions are so sweeping, Defendant[s] will be unable to show that
                 13      they are narrowly tailored to anything.” Khademi, 194 F. Supp. 2d at 1034 (internal
                 14      citations omitted); see also Williams, 2012 U.S. Dist. LEXIS 80967 at *20 (“[T]he
                 15      mere fact that the [permit requirement for speech outside free speech area] applies
                 16      to all student speech raises constitutional concerns.”); Pro-Life Cougars, 259 F.
                 17      Supp. 2d at 583-84 (college ban on all “potentially disruptive” expression on plaza
                 18      exercised “such sweeping power” as to illustrate lack of narrow tailoring). Shaw
                 19      has pled that the policies at issue here are similarly broad, affecting all but a small
                 20      portion of each campus. Compl. ¶¶ 35, 36, 40–49, 53.
                 21                   b. The policies do not leave open ample alternative channels of
                 22                       communication.
                 23            Defendants’ policies also fail to leave open ample alternative channels of
                 24      communication. While Board Rule 9902 states that each free speech area should be
                 25      “located where there is a normal flow of student traffic,” there is no requirement
                 26      that the area be a certain size, either absolutely or relative to the size of the campus
                 27
                 28                                                - 17 -
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    LOS ANGELES
          Case 2:17-cv-02386-ODW-PLA Document 33 Filed 09/25/17 Page 27 of 35 Page ID #:206



                     1   or the number of students. At Pierce, the end result is that the vast majority of the
                     2   campus is off-limits to expressive activity.
                     3         A small free speech area cannot accommodate multiple (or larger) student
                     4   groups wishing to respond publicly and in a timely manner to current events.
                     5   Moreover, designating specific areas for speech prevents students from using the
                     6   locations where they can best reach their intended audience, or locations that hold
                     7   particular significance to their message. See Galvin v. Hay, 374 F.3d 739, 750 (9th
                     8   Cir. 2004) (“The Court has recognized that location of speech, like other aspects of
                     9   presentation, can affect the meaning of communication and merit First Amendment
                 10      protection for that reason”).
                 11            Defendants also argue that Article X, Board Rules 91001, et seq., for which
                 12      they request judicial notice, creates additional areas in which students can engage in
                 13      expressive activity. It does not. Rule 9903 of the LACCD Policy grants district
                 14      college presidents discretion to designate more than one free speech area on their
                 15      campus. See Compl. ¶ 39. For students wishing to distribute literature outdoors,
                 16      Article X does no more than reiterate the existence of that discretion. See Rule
                 17      91002. Shaw alleges, and the Pierce Policy confirms on its face, no such additional
                 18      areas have been designated for student expression on Pierce’s campus. Compl. ¶ 53,
                 19      Ex. C. Defendants have pointed to nothing in Article X or the Complaint to show
                 20      that other channels of communication exist for students who wish to engage in
                 21      basic free speech activities in the open, outdoor areas of Pierce’s campus.
                 22            3.     Even if Pierce’s campus is a nonpublic or limited public forum,
                 23                   Shaw has pled claims on which relief may be granted.
                 24            In both nonpublic forums and limited public forums, regulations designed to
                 25      preserve the forum for its intended purpose must still be reasonable. Perry Educ.
                 26      Ass’n, 460 U.S. at 46. “[V]irtual ‘First Amendment Free Zone[s]” have thus been
                 27      struck down in nonpublic forums. Bd. of Airport Comm’rs v. Jews for Jesus, Inc.,
                 28                                               - 18 -
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    LOS ANGELES
          Case 2:17-cv-02386-ODW-PLA Document 33 Filed 09/25/17 Page 28 of 35 Page ID #:207



                     1   482 U.S. 569, 574 (1987) (striking down free speech prohibition in airports, even
                     2   though considered nonpublic forums); see also City of Las Vegas, 333. F.3d at 1106
                     3   (upholding district court ruling that total ban on leafleting was unconstitutional
                     4   even if pedestrian street at issue was a nonpublic forum).
                     5         Restricting all student speech to tiny free speech areas and effectively
                     6   designating the vast majority of public college campuses to be no-speech zones
                     7   cannot be deemed reasonable in an environment that is the quintessential
                     8   “marketplace of ideas.” Healy, 408 U.S. at 180.
                     9         4.     Pierce College’s permit requirement is a prior restraint under
                 10                   which College officials have unfettered discretion
                 11            “Even if the issuance of permits . . . is a ministerial task . . . a law requiring a
                 12      permit to engage in such speech constitutes a dramatic departure from our national
                 13      heritage and constitutional tradition.” Watchtower Bible & Tract Soc’y of N.Y., Inc.
                 14      v. Vill. of Stratton, 536 U.S. 150, 166 (2002); accord Forsyth v. Nationalist
                 15      Movement, 505 U.S. 123, 132-33 (1992) (striking down permit policy on First
                 16      Amendment grounds for lacking “articulated standards”). Thus, “a law subjecting
                 17      the exercise of First Amendment freedoms to the prior restraint of a license, without
                 18      narrow, objective, and definite standards to guide the licensing authority, is
                 19      unconstitutional.” Shuttlesworth v. Birmingham, 394 U.S. 147, 150–51 (1969).
                 20            “The presumptive invalidity and offensiveness of advance notice and
                 21      permitting requirements stem from the significant burden that they place on free
                 22      speech.” Berger v. City of Seattle, 569 F.3d 1029, 1037 (9th Cir. 2009) (en banc);
                 23      Rosen v. Port of Portland, 641 F.2d 1243, 1249 (9th Cir. 1981) (noting that prior
                 24      restraints “prevent speech that is intended to deal with immediate issues”); NAACP,
                 25      W. Region v. City of Richmond, 743 F.2d 1346, 1356 (9th Cir. 1984) (“simple delay
                 26      may permanently vitiate the expressive content of a demonstration”). Accordingly,
                 27      the Ninth Circuit “ha[s] refused to uphold registration requirements that apply to
                 28                                                - 19 -
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    LOS ANGELES
          Case 2:17-cv-02386-ODW-PLA Document 33 Filed 09/25/17 Page 29 of 35 Page ID #:208



                     1   individual speakers or small groups in a public forum.” Berger, 569 F.3d at 1039.
                     2   And “no court has held that a standardless policy passes muster.” OSU, 699 F.3d at
                     3   1065. Just as importantly, a standardless permit requirement lends itself to
                     4   viewpoint discrimination. See Lakewood v. Plan Dealer Publ’g Co., 486 U.S. 750,
                     5   757 (1988) (noting that without standards it is difficult for courts to determine in
                     6   any particular case whether the licensor is permitting favorable, and suppressing
                     7   unfavorable, expression.”).
                     8         Regardless of the type of forum, the Pierce Policy represents an
                     9   unconstitutional prior restraint. On its face, the policy lacks any standards to guide
                 10      administrative discretion and applies to anyone using the free speech area, even
                 11      individuals and small groups seeking to distribute literature or ask their fellow
                 12      students to sign a petition. Compl. ¶¶ 47–52, Ex. C.
                 13            Defendants argue that their policy is permissible because it authorizes the
                 14      denial of a permit only when the free speech area is already reserved. Defs.’ Mem.
                 15      19. That argument carries no weight because this proffered limitation does not
                 16      appear in the policy itself. See Lakewood, 486 U.S. at 770 (“The doctrine
                 17      [forbidding prior restraints] requires that the limits the city claims are implicit in its
                 18      law be made explicit by textual incorporation, binding judicial or administrative
                 19      construction, or well-established practice.”).
                 20            Defendants rely on Bloedorn v. Grube, 631 F.3d 1218 (11th Cir. 2011), and
                 21      Bowman v. White, 444 F.3d 967 (8th Cir. 2006), to argue that the policy is
                 22      constitutional. Defs.’ Mem. 18–19. Those cases involved non-students requesting
                 23      preliminary injunctions, so the courts were in a position to make findings of fact
                 24      and found that the policies sufficiently limited governmental discretion. See
                 25      Bloedorn, 631 F.3d at 1237 (discussing evidence); Bowman, 444 F.3d at 980–81
                 26      (same). Here, Defendants have filed a motion to dismiss, and the allegations in
                 27      Plaintiff’s Complaint must be taken as true. Shaw has alleged that the Pierce Policy
                 28                                                 - 20 -
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    LOS ANGELES
          Case 2:17-cv-02386-ODW-PLA Document 33 Filed 09/25/17 Page 30 of 35 Page ID #:209



                     1   consists of nothing other than the permit he was forced to sign and does not set
                     2   forth any standards that would limit administrators’ discretion. Compl. ¶ 50.
                     3   Plaintiff has properly pled that the Pierce Policy is an unconstitutional prior
                     4   restraint.
                     5          The Pierce Policy suffers from another fatal flaw. Requiring speakers to
                     6   identify themselves to and seek advance permission from the college effectively
                     7   prohibits anonymous and spontaneous speech. Compl. ¶¶ 48, 51, Ex. C. Defendants
                     8   argue that speakers must reveal their identity to administrators only, who do not
                     9   share the information with others. See Defs.’ Mem. 20. In addition to falling outside
                 10      the allegations of the Shaw’s Complaint, this assertion is beside the point: “the
                 11      requirement that potential speakers identify themselves to the government, and the
                 12      concomitant loss of anonymity, is one of the primary evils the Supreme Court cited
                 13      when it struck down the permitting requirement in Watchtower Bible.” Berger, 569
                 14      F.3d at 1044 (emphasis in original).
                 15      D.     The Pierce College Defendants Have Been Properly Joined.
                 16             Defendants argue that Shaw has not asserted a sufficient “causal connection
                 17      between Defendants’ involvement in the development and/or implementation of
                 18      Pierce’s free speech policy/practices” and his injury. Defs. Mem. 8.6 Contrary to
                 19      Defendants’ assertions, Shaw pleads sufficient facts as to each Defendant’s policy-
                 20      making, decision-making, and administrative authority, alleging “factual content
                 21      that allows the court to draw the reasonable inference that the defendant[s] [are]
                 22      liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).7
                 23      6
                           Defendants make the causal-connection argument in the context of standing. Defs.’ Mem. 8.
                 24      This is not, however, a standing requirement; it is a substantive requirement emanating from
                         Section 1983. See, generally, Ashcroft v. Iqbal, 556 U.S. 662, (2009).
                 25      7
                           Defendants assert that “[n]o college employee has the authority to establish policy as a matter of
                         law” pursuant to Cal. Educ. Code § 70902(a)(2), which provides that “[t]he governing board of
                 26      each community college district shall establish rules and regulations” for the operation of the
                 27      district colleges. Defs.’ Mem. 7–8. They omit, however, that § 70902(d) of the Code goes on to
                         provide: “Wherever in this section or any other statute a power is vested in the governing board,
                 28                                                     - 21 -
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    LOS ANGELES
          Case 2:17-cv-02386-ODW-PLA Document 33 Filed 09/25/17 Page 31 of 35 Page ID #:210



                     1
                                       “[E]ven absent ‘overt personal participation,’ a supervisor may
                                be liable under Section 1983 if he or she created, promulgated,
                     2          implemented, advanced, or was otherwise responsible for the
                     3
                                continued operation of a policy that ‘requires subordinates to commit
                                constitutional violations,’ and enforcement of the policy (either by the
                     4          defendant-supervisor or his/her subordinates) proximately caused the
                     5          plaintiff’s constitutional injury.”

                     6   Benitez v. Hutchens, Civ. No. 12-550, 2016 U.S. Dist. LEXIS 179445, at *13 (C.D.
                     7   Cal. Sept. 8, 2016) (quoting OSU Student Alliance, 699 F.3d at 1076), R&R
                     8   adopted, 2016 U.S. Dist. LEXIS 179442 (C.D. Cal. Dec. 26, 2016); see also Starr
                     9   v. Baca, 652 F.3d 1202, 1205–06 (9th Cir. 2011) (a supervisor may be individually
                 10      liable for “action or inaction in the training, supervision, or control of his
                 11      subordinates, his acquiescence in the constitutional deprivations of which the
                 12      complaint is made, or conduct that showed a reckless or callous indifference to the
                 13      rights of others”) (internal quotations omitted).
                 14             Turning first to Defendant Burke, Shaw has pled that she is the President of
                 15      Pierce College, Compl. ¶ 15. Pursuant the LACCD Policy, Burke is responsible for
                 16      “designat[ing] an area or areas” that make up the free speech area. Compl. ¶ 36, Ex.
                 17      A. Burke is therefore responsible for the designation of free speech areas (for
                 18      students and the public) and the only administrator who can expand their size.
                 19             Next, Shaw alleges that Defendant Dixon-Peters is Pierce’s Vice President of
                 20      Student Services. Compl. ¶ 16. The Pierce Policy states: “Individuals planning to
                 21      distribute material on campus are required to go to the Vice President of Student
                 22      Services Office . . . .” Compl. Ex. C. Thus, Dixon-Peters is directly responsible for
                 23      enforcing the permitting scheme that deprived Shaw of his constitutional rights.
                 24             Similarly, Defendant Marmolejo is Dean of Student Services, the office
                 25      designated to process individuals wishing to use the free speech zone. Shaw has
                 26      the governing board of a community college district . . . may adopt a rule delegating the power to
                 27      the district’s chief executive officer or any other employee or committee as the governing board
                         may designate[,]” which is precisely the case here. Cal. Educ. Code § 70902(d).
                 28                                                       - 22 -
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    LOS ANGELES
          Case 2:17-cv-02386-ODW-PLA Document 33 Filed 09/25/17 Page 32 of 35 Page ID #:211



                     1   alleged that Marmolejo plays a substantial role in the administration and
                     2   enforcement of the relevant policies. Compl. ¶ 17. Moreover, Marmolejo was aware
                     3   of Shaw’s search for a copy of Pierce’s unwritten rules governing the free speech
                     4   area and referred him to Defendant Astorga, who informed Shaw that he and other
                     5   speakers are subject to unconstitutional restrictions on speech. Compl. ¶¶ 70–74.
                     6         Finally, Astorga, Pierce’s Dean of Student Engagement, was unquestionably
                     7   involved in the deprivation of Shaw’s constitutional rights. Compl. ¶¶ 18, 74.
                     8   Astorga informed Shaw that “[t]he use of the Free Speech area is under [Astorga’s]
                     9   purview.’” Compl. ¶ 74. Shaw also alleges that Astorga directed Pierce employees
                 10      not to provide Shaw with a copy of the Pierce Policy. Compl. ¶¶ 79–80.
                 11      Accordingly, Astorga has relevant policy-making authority and took part in the
                 12      deprivation of Shaw’s constitutional rights.
                 13            Defendants are likewise necessary parties for purposes of Shaw’s claims for
                 14      equitable relief, where a showing of personal involvement is unnecessary:
                 15            A plaintiff seeking injunctive relief against the State is not required to
                 16            allege a named official’s personal involvement in the acts or omissions
                               constituting the alleged constitutional violation. Rather, a plaintiff
                 17            need only identify the law or policy challenged as a constitutional
                 18            violation and name the official within the entity who can appropriately
                               respond to injunctive relief.
                 19
                         Hartmann v. Cal. Dep’t of Corr. & Rehab., 707 F.3d 1114, 1127 (9th Cir. 2013)
                 20
                         (internal citations omitted); see also Colwell v. Bannister, 763 F.3d 1060, 1070–71
                 21
                         (9th Cir. 2014). Even if they are not individually liable for the deprivation of
                 22
                         Shaw’s constitutional rights (which they are), the Pierce Defendants would still be
                 23
                         properly joined because they are the administrators who would provide the
                 24
                         requested relief. Compl. ¶¶ 15–18 (alleging that each of the Pierce Defendants has
                 25
                         policy-making and enforcement authority over the “Free Speech Area”).
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    LOS ANGELES
          Case 2:17-cv-02386-ODW-PLA Document 33 Filed 09/25/17 Page 33 of 35 Page ID #:212



                     1   E.    The Pierce College Defendants Are Not Entitled to Qualified Immunity.
                     2         “Qualified immunity involves a two-step inquiry: (1) whether the officer’s
                     3   conduct violated a constitutional right; and (2) whether that right was clearly
                     4   established when viewed in the context of this case.” Ctr. for Bio-Ethical Reform,
                     5   Inc. v. L.A. Cty. Sheriff Dep’t, 533 F.3d 780, 793 (9th Cir. 2008). There need not
                     6   be a case directly on point; the contours of the right need be sufficiently clear that a
                     7   reasonable official would understand his actions violated that right. Ashcroft v. al-
                     8   Kidd, 563 U.S. 731, 741 (2011).
                     9         Shaw’s First Amendment rights were clearly established. As discussed
                 10      above, courts spanning the course of the last fifteen years consistently and clearly
                 11      hold that college and university campuses are, at a minimum, designated public
                 12      forums for their students and that the open, outdoor areas of college campuses
                 13      cannot be closed to student expression. See supra pages 9–19. And it has long been
                 14      established that permitting schemes in such forums cannot leave government
                 15      officials with unfettered discretion or restrict the expressive activity of individuals
                 16      or small groups of peaceful demonstrators. See supra pages 19–21.
                 17            Defendants also argue that they are entitled to qualified immunity because
                 18      the LACCD Policy was the result of earlier litigation that led to a “court approved
                 19      dismissal” in Rosen v. Los Angeles Pierce College, Ex. 2 to Defs.’ Req. for Judicial
                 20      Not., and was the subject of litigation in Guengerich v. Baron, CV-01045, 2011
                 21      WL 13116612 (C.D. Cal. May 5, 2011). Defs.’ Mem. 25. But Rosen involved “off
                 22      campus groups” and the case was dismissed because the College had repealed the
                 23      challenged policy. See Rosen Joint Dismissal, Ex. 2 to Defs.’ Req. for Judicial Not.
                 24      Guengerich likewise dealt with the rights of “outsiders.” See 2011 WL 1311612, at
                 25      *9 (“These precedents establish a college’s right to limit which areas of its facilities
                 26      are open for expressive activities by campus outsiders.”).
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    LOS ANGELES
          Case 2:17-cv-02386-ODW-PLA Document 33 Filed 09/25/17 Page 34 of 35 Page ID #:213



                     1          The case law establishes that students must generally be allowed to engage in
                     2   expressive activities in outdoor areas of college campuses. It was thus clearly
                     3   established on November 2, 2016, that the Defendants’ policies were
                     4   unconstitutional, depriving Defendants of any claim to qualified immunity from
                     5   Shaw’s claim for damages. Even if Defendants were entitled to qualified immunity,
                     6   Plaintiff’s claims for equitable relief would remain. See, e.g., Hydrick v. Hunter,
                     7   669 F.3d 937, 939–40 (9th Cir. 2012).
                     8   III.   CONCLUSION
                     9          Shaw respectfully requests that the Court deny Defendants’ Motion to
                 10      Dismiss or, that if Defendants’ Motion is granted, Shaw be granted leave to amend.
                 11
                 12      Dated: September 25, 2017          LEADER & BERKON LLP
                 13
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    LOS ANGELES
          Case 2:17-cv-02386-ODW-PLA Document 33 Filed 09/25/17 Page 35 of 35 Page ID #:214



                     1                                 CERTIFICATE OF SERVICE
                                            Case Name: Kevin Shaw v. Kathleen F. Burke, et al.
                     2                           Case No.: 2:17-cv-02386-ODW-PLA
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                         email addresses:
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                 18
                               document(s) to be electronically served on the above-mentioned person(s),
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                               who are currently on the list to receive e-mail notices for this case.
                 20
                               I declare that I am employed in the office of a member of the bar of this court
                 21
                         at whose direction the service was made.
                 22
                               Executed on September 25, 2017, at Los Angeles, California.
                 23
                                                                           /s/ Sandra Alvarenga______
                 24                                                        Sandra Alvarenga
                 25
                 26
                 27
                 28                                               - 26 -
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    LOS ANGELES
